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                        EXHIBIT B
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   ---------- Forwarded message ----------
   From: Blackstock, Patrisha@DCA <Patrisha.Blackstock@dca.ca.gov>
   Date: Monday, August 24, 2020
   Subject: Request for Arbitration
   To: "jojotheboxer@gmail.com" <jojotheboxer@gmail.com>
   Cc: "Cornejo, Sophia@DCA" <Sophia.Cornejo@dca.ca.gov>



   RE: REQUEST FOR ARBITRATION – Heredia/Diaz



   Dear Mr. Diaz,



   The California State Athletic Commission (Commission) has received a Request for Arbitration dated September 20, 2020, from Mr.
   Moses Heredia. Pursuant to the California Code of Regulations section 227 below, you have twenty (20) calendar days to respond
   to this arbitration request.



   § 227. Arbitration Procedures.


                (b) Within five (5) working days after receipt of a complete request for arbitration, the commission shall serve the request
                and any accompanying documents on the other party to the contract and provide that party with an opportunity to respond.
                If the commission does not receive a response from the other party not later than twenty (20) calendar days from the date
                of service of the request, the matter shall proceed by default.



   Your response will be accepted via email, fax or mail. Please contact the Commission at (916) 263-2195 or via email at
   csac@dca.ca.gov if you have any questions regarding this Request for Arbitration or its associated contract.



   Sincerely,




   Patrisha Blackstock
   Associate Governmental Program Analyst
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   California State Athletic Commission

   2005 Evergreen St., Suite 2010

   Sacramento, CA 95815

   Patrisha.blackstock@dca.ca.gov

   P: 916-263-2195 (Main Line)

   P: 916-263-6130 (Direct Line)

   F: 916-263-2197
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    Declaration of
    Moses…dia.pdf
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